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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA

  IN RE: AQUEOUS FILM-FORMING FOAMS                           )       Master Docket No.:
  PRODUCTS LIABILITY LITIGATION                               )       2:18-mn-2873-RMG

                                                              )
  CITY OF CAMDEN, et al.,                                     )       Civil Action No.:
                                                              )       2:23-cv-03230-RMG
                 Plaintiffs,                                  )
                                                              )
  -vs-                                                        )
                                                              )
  E.I. DUPONT DE NEMOURS AND COMPANY (n/k/a                   )
  EIDP, Inc.), et al.                                         )
                                                              )
                 Defendants.                                  )



         WITHDRAWAL OF MOTION FOR FRAP 7 BOND WITHOUT PREJUDICE

         PLEASE TAKE NOTICE that Class Counsel hereby withdraw their Motion for a Federal

Rule of Appellate Procedure 7 Bond against Metropolitan Water District of Southern California

(“Met”) (ECF No. 4696) without prejudice.




Dated: April 16, 2024                       Respectfully Submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was electronically filed with

this Court’s CM/ECF on this 16th day of April, 2024 and was thus served electronically upon

counsel of record.


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